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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS
                                    (BOSTON DIVISION)

                                    CASE NO. 17-CR-10265



UNITED STATES OF AMERICA,:

                       Plaintiff,

v.

SALLY ANN JOHNSON,

                       Defendant.




                           DEFENDANT’S OBJECTIONS TO
                     THE PRESENTENCE INVESTIGATION REPORT


       Defendant, Sally Ann Johnson, hereby files her objections to the presentence

investigation report and states:

     1. Ms. Johnson objects to paragraph 11 of the report to the extent that it states that Ms.

Johnson received a total of $3,567,300 of income from services.     A majority of these funds

received by Ms. Johnson were intended to be gifts from the Grantor. The Grantor by letter dated

November 14. 2013 confirmed her intent, A substantial amount of time later, the Grantor’s

brother, a licensed attorney, caused Grantor to execute a durable power of attorney appointing

him the power to handle her affairs. At the time Grantor executed the subject power of attorney

Grantor was of sound mind.

     2. Ms. Johnson objects to paragraph 27 of the report to the extent that it states that Ms.

Johnson received a total of $3,567,300 of income from services during 2007 through 2014. Ms.
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Johnson states that the funds provided to her by the Grantor during the period of time 2007

through 2012 were intended to be gifts.       Grantor had no noticeable issues with her faculties

during that period of time. Ms .Johnson was told by a tax return preparer during this period of
                                 .




time that the receipt of gifts was not a taxable   event   and no tax return needed to be filed by the

recipient. Ms. Johnson acknowledges that as the Grantor advanced in age she became more

forgetful. This became noticeable in late 2013. Ms. Joimson also recognizes that during this

period of time it was Grantor’s intent to pay her for her services and that the services were

taxable.

     3. Ms. Johnson objects to paragraph 28 of the report to the extent that it states that Ms.

Johnson received a total of $3,567300 of income from services during 2007 through 2014 which

resulted in a tax loss of $713,460. Ms. Johnson states that the tax loss was less than S250.000.

      4. Ms. Johnson objects to paragraph 30 of the report to the extent that it adopts the

government’s position that the letter dated November 14, 2013 was not knowingly signed by the

Grantor.

     5. Ms. Johnson objects to paragraph 31 of the report to the extent that it states that Grantor’s

did not have the mental capacity to understand the letter she signed on November 14. 2013.

     6. Ms. Johnson objects to paragraphs 37 and 42 of the report to the extent that it states that

the tax loss is $713,460 and the base offense level is 20. Ms. Johnson states that the tax loss is

less than $250,000 and the base offense level is 16.

     7. Ms. Johnson objects to paragraph 46 of the report to the extent that it states that the

applicable total offense level of 17. Ms. Johnson states that the total offense level is 13.

     8. Ms. Johnson objects to the objections submitted by the United States to the report and
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opposes an’ upward adjustment. Ms. Johnson asserts that the governmenfs position is

inconsistent with the plea agreement of the parties.



                                                       Respectfully submitted,



                                                       /s/ David M Ga,vin
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 27, 2017, a true and correct copy of the

foregoing was furnished by CM/ECF to all counsel of record.


                                                       By:   /5/   David M. Garvin
                                                                   David M. Garvin
